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Title: Judith Wismer, Petitioner
v.
Sarasota Housing Authority
Docketed: December 30, 2015
Lower Ct: District Court of Appeal of Florida, Second District
Case Nos.: (2D15-964)
Decision Date: June 4, 2015

Rehearing Denied: July 21, 2015

~~~Date~r~
Oct 19 2015

Jan 22 2016
Feb 11 2016
Feb 29 2016
Mar 25 2016
May 3 2016

May 23
2016

Petition for a writ of certiorari and motion for leave to proceed in forma pauperis filed. (Response due January
29, 2016)

Waiver of right of respondent Sarasota Housing Authority to respond filed.
DISTRIBUTED for Conference of February 26, 2016.

Petition DENIED.

Petition for Rehearing filed.

DISTRIBUTED for Conference of May 19, 2016.

Rehearing DENIED.

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Party name: Judith Wismer

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SUPREME COURT OF THE UNITED STATES 1 First Street, NE Washington, DC 20543
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Questions Presented

1. Whether the petitioner, recognized as indigent, was denied procedural due
process under the 14th Amendment to the United States Constitution where the
state circuit court, sitting in its appellate capacity, dismissed her timely filed appeal
of an eviction order for failure to file trial transcripts and a brief based thereon, and
which thereby denied her right to appellate review on the merits, for failure to
provide transcripts of the county court trial where such transcripts, which were
essential to success on her appeal, were optional submissions under the appellate
court rule.

2. Whether petitioner, recognized as indigent, was further denied procedural due
process under the 14th Amendment where the Florida 2d District Court of Appeal,
on certiorari review of the circuit court dismissal, refused to grant the writ as the
appropriate remedy for a wrongful dismissal produced by the Circuit Court’s
insistence on compliance with an optional appellate rule.

3. Whether the petitioner, recognized as indigent, was further denied due process
by the failure of the circuit court to grant petitioner’s application, based on
indigency under Sec 57.081 and Sec 57.082 Florida Statutes, for relief, which could
have included the appointment of counsel under Sec 27.511, Fla Stat. (and therefor,
payment of transcription fees) for her county court eviction proceedings which were
the subject of her appeal, where no statutory or other basis appeared which would
expressly disentitle her, or those of her residential tenant class, to such relief.

Parties and Counsel

Sarasota Housing Authority, a public body corporate and politic created pursuant to
Chapter 421.04, Florida Statutes

Office of Commission Chairman

269 S. Osprey

Sarasota, FL 34236

Plaintiff(Respondent)

Legal Aid of Manasota Inc.
a Florida Not for Profit Corporation
Counsel for Defendant(Petitioner) in the trial court only
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Citations of Official and Unofficial Reports

The decision of the Circuit Court, Sarasota County was not reported
The decision of the District Court of Appeal, Second District was not reported

Concise Statement of the Basis of Jurisdiction

Respondent, SHA, as landlord, sued JW, Petitioner, as tenant for possession of a
dwelling unit in Sarasota County Court pursuant to Chapter 83, Florida Statutes.
After trial, SHA was granted possession of the petitioner’s dwelling unit and
awarded damages against her. The final judgment was entered on 5/6/14. (_ )
Petitioner timely appealed to Circuit Court, Sarasota County, Florida on 6/3/14. (_ )
See Rule 9.110(b), Fla R App P. The Circuit Court had jurisdiction to review by
way of appeal, the final order of County Court. Art. V, Sec. 5(b), Fla Const., Sec
26.012(1), Fla. Stat.; see also Attorny General Opinion, 056-306, October 16, 1956.

On 2/4/15, Petitioner’s appeal was dismissed by the Circuit Court. ( ) On 3/4/15
petitioner timely sought review of the Circuit Court’s dismissal by way of a petition
for writ certiorari in the Florida District Court of Appeal 2d district. ( ) Florida
District Courts of Appeal have jurisdiction to review, by certiorari, orders entered
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by the Circuit Court in its appellate capacity. See Rule 9.030(b)(2)(B), Fla. R. App.
P.; Azima v State, 480 So 2d 184 (Fla 2d DCA 1985); Art. V, Sec. 4(b)(3), Fla. Const.
That petition was denied without elaboration or opinion on 6/4/15.( ) A timely
motion for extension of time to move for rehearing and an authorized motion for
rehearing was filed by petitioner. ( ) See Rule 9.330, Fla R App P., Maffea v Moe,
483 So 2d 829 (Fla 4% DCA 1986)(15 day period under rule not jurisdictional and
the District Court of Appeal may consider belated rehearing motions); Thompson v
Singletary, 659 So 2d 435 (Fla 4th 1995). The motion for rehearing was allowed as
timely by the District Court and the same was denied, again without elaboration or
opinion, on 7/21/15. ( )

The 7/21/15 order denying her motion for rehearing represents the conclusion of
the available review process in Florida. The Florida Supreme Court has held that it
has no jurisdiction to review dispositions entered without opinion, such as the one
made here. See Stallworth v Moore, 827 So 2d 974 (Fla 2002) (Supreme Court lacks
jurisdiction to review petition denied without opinion); see also R. J. Reynolds

‘Tobacco Company v Kenyon, 882 So 2d 986 (Fla 2004)(all writs); and Grate v State,
750 So 2d 625 (Fla 1999)(mandamus).

The 14th Amendment issues hereinafter described did not first arise until after
commencement of the appeal process in Circuit Court. These issues arose out
Appellant’s (Petitioner’s) proper attempt to obtain the trial transcripts needed to
complete preparation the appeal record as described in Rule 9.200, Fla R App P.
and these issues are described in the following Statement of the Case. These issues
were presented to the Circuit Court, as follows: Petitioner, acting pro se, filed a
motion on 8/8/14 for the assistance of the Circuit Court in obtaining transcripts of
the trial proceeding, specifically referencing Sec 57.081 and .082, Fla Stat.( ) On
8/29/14 petiitoner moved the court to permit her to attempt to create and submit a
stipulated statement of the evidence, Rule 9.200(a)(4) Fla R App P.,as an
alternative to the transcripts.(_ ) This was denied by the Circuit Court on 10/1/14
in an order which provided inaccurate information about the process.( ) On
11/3/14 Petitioner again sought an extension of time to acquire the transcripts and
requested a hearing on the issue.( ) On 12/2/14 Petitioner applied to the court for
permission to attempt another alternative, to-wit, recreation of the trial record
pursuant to Rule 9.200(b)(4), Fla R App P. and again referred to Sec 57.082, Fla
Stat. ) This was denied on1/12/15.( ) On 1/29/15, in response to a court order to
show cause why the appeal should not be dismissed, petitioner again sought relief
under Sec 57.082 and also under Sec 27.511, Fla Stat, the statute that deals with
representation of civil indigents by the public defender and regional counsel. (_)
However, on 2/4/15 the Circuit Court dismissed the appeal for failure to file the
transcript of the trial proceeding and for failure to file an initial brief. (_)

The dismissal by the Circuit Court had the effect of denying the petitioner the right
to a review on the merits of her appeal by denying to her all three of the available
alternative means of preparing an appeal record upon which an appeal brief could
be based.
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Thereafter, Petitioner applied for review of the foregoing due process issues to the
Florida District Court of Appeal, 2d District, in her petition for writ of certiorari.
filed 3/4/15. ( )

Statutory Basis of Supreme Court Jurisdiction

28 USC 1257
Notifications

28 USC 2403(b) may apply and the Attorney General of Florida has been noticed.
Constitutions, Statutes, Court Rules

Set forth in the Appendix

Concise Statement of the Case

On December 6, 2013, the Respondent, Sarasota Housing Authority, as lessor,
filed suit against the petitioner, JW, as tenant, to terminate petitioner’s lease of a
residential dwelling unit and for damages based on an alleged breach of their
written lease.( ) The lease was identified as a “Lease for the Family Developments
of Sarasota Housing Authority”.( ) The lease agreement also imposed certain
community service requirement upon Authority tenants. The complaint sought to
recover possession from Petitioner by reason of allegedly disruptive conduct on the
part of the petitioner, generated, in part, by the use of her walking cane and SHA
further alleged that Petitioner failed to timely cure her offending conduct. Also the
complaint sought damages.

Petitioner timely filed her answer, through the office of Legal Aid of Manasota,
Inc., and denied the material allegations of the complaint, and also filed affirmative
defenses, which included assertions that SHA had failed to comply with certain
HUD and ADA requirements in its dealings with petitioner.( ) Petitioner’s
indigency application, filed with the Sarasota County Clerk of Court in accordance
with Sec 57.081, Fla Stat., was approved by the Clerk.( ) Her indigency affidavit
disclosed an income of $189/mo from employment and virtually no other assets. It
also disclosed her monthly rent obligation under the SHA lease to be $50/month.

The matter was set for nonjury trial in the County Court, Sarasota, both sides
summoned witnesses and between 6-12 witnesses were subpoenaed. (_ ) At trial,
the testimony from various fact witnesses constituted the primary part of the
evidence. The testimony and proceedings were electronically captured and
preserved on compact disc so as to permit future transcription if Appellate review
were sought. The trial was held on 4/21/14 resulting in the entry of judgment in
favor of SHA and against the petitioner.( ) As a part thereof, SHA was granted
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possession of the petitioner’s dwelling unit and awarded damages against her. See
final judgment entered 5/6/14. The final judgment contained no detailed findings of
fact, whether derived from the testimony of the witnesses or otherwise. A writ of
possession was issued on 5/7/14.(_ ) Petitioner unsuccessfully sought a stay of the
writ but the same was denied and SHA was put into possession on 5/13/14.(_ )

On 6/3/14, the petitioner timely appealed to the Circuit Court for the 12% judicial
circuit.( ) The Circuit Court has Jurisdiction to review by way of appeal, the
final orders of county court. Rule 9110(b), Fla R App Pro. Sec 26.012(1), Fla Stat.
Petitioner’s indigency status was continued. Petitioner proceeded in Circuit Court
without counsel. Under the Florida Rules of Appellate Procedure and case law, the
burden is on the appellant to secure and supply an adequate record of the trial court
proceedings to the appellate court. The burden is on the appellant to demonstrate
the existence of reversible error in the proceedings and judgment of the lower court.
Full and accurate replication of the evidence and proceedings before the lower court
is, in most cases, essential to success on appeal. Without an adequate lower court
record which would include the evidence and other matters before the lower court,
an appellate court may not reverse unless the error were to appear on the face of
the judgment or documentary record. See Maslow v Edwards, 886 So 2d 1027 (Fla
5th DCA 2004).

Here, the evidence before the trial court consisted, in substantial part, of the
testimony of various fact or event witnesses, making a transcript essential to
success on appeal. Alternatively, an agreed “Statement of the evidence and
Proceedings”, under Rule 9.200(b)(4), Fla R App Pro. or a stipulated statement
under 9.200(a)(4), could have been employed, however these procedures are less
effective and more difficult to generate.

Petitioner sought to secure transcription of the trial proceedings but discovered
the cost of the same to be beyond her financial ability to pay.( ) She sought
assistance from the Circuit Court regarding payment for the transcription.(_ )

When she obtained no success she sought permission to proceed with the attempt at
recreating the lower court proceedings in the manner described in Rule 9.200(a)(4)
and later, Rule 9.200(b)(4) again, without success.( ) She sought and received
extensions of time in which to comply with the transcript order. She sought the
courts assistance in obtaining funding for this purpose under 57.082, Fla Stat., and
Sec 27.511, Fla Stat as a means of relief, inasmuch as her indigent status under
57.081 did not cover appeal transcripts.( ) This was without success. Petitioner
was left without assistance in securing the transcripts. Thus, the petitioner was
left without access to the trial transcripts and without the court’s permission to
attempt recreation o the evidence and proceedings by the process set out in Sec
(a)(4) or Sec (b)(4) of Rule 9.200, Fla R App P. This was a substantial denial of
petitioner’s rights. See Paul Revere Life Insurance Company v Kahn, 873 So 2d 595
(Fla 3:4 DCA 2004) wherein it was held that it was a denial of due process and
violation of the essential requirements of the law to require a party to prepare an
appellate brief without a transcript. Ultimately, on 2/4/15, her appeal was
dismissed by the Circuit Court due to her failure to supply the transcripts of the
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trial and for failure to submit the appellate brief which could not be accurately
created without trial transcripts.

On 3/4/15 petitioner timely sought review of the Circuit Court’s dismissal by way
of of a petition for certiorari filed in the Florida District Court of Appeal, 2d district.
Florida District Courts of appeal have jurisdiction to review, by certiorari, orders of
the Circuit Court entered in its appellate capacity. See Rule 9.030(b)(2)(B), Fla R
App Pro ; Azima v State, 480 So 2d 184 (Fla 2d DCA 1985) This level of review is
not in the nature of a review “as of right” but is discretionary review wherein the
petitioner must show that the lower tribunal departed from the essential
requirements of the law which has resulted in a miscarriage of justice. See Combs v
State, 486 So 2d 93 (Fla 1983) see also Chmura v Maxson, 46 So 3d 158 (Fla 2d
DCA 2010) (denial of due process and departed from the essential requirements of
the law). On 3/24/15 the District Court filing fee was waived on the basis of
petitioner’s indigency.

Here, the petitioner was again confronted with an inadequate record upon which
to proceed. The District Court allowed extensions of time within which to procure
the transcripts but petitioner was afforded no new route to success.( ) Her
amended petition was allowed and filed on 5/26/15. But, ultimately, her petition
was denied without opinion on 6/4/15.(_ ) A motion for rehearing was filed and
accepted as timely, see Maffea, above, Thompson, above, and the same was denied
without opinion on 7/21/15.( ) The order was contrary to prior decisions of the
Courts of Appeal on related matters. For example, in Chmura v Maxson, above, the
District Court granted review and vacated a Circuit Court dismissal order which
had dismissed an appeal for failure to fulfill an optional task under the appellate
rules. See also Transcontinental Finance Corporation v Baxter,402 So 2d 1289 (Fla
5th DCA 1981);, Mocio v State, 98 So 3d 601 (Fla 2d DCA 2012)(scope of review in
DCA is whether circuit court acting in its appellate capacity afforded petitioner
procedural due process and applied the correct law). ~

The 7/21/15 order denying her motion for rehearing represents the conclusion of
available review process in Florida. The Florida Supreme Court has held that it
has no jurisdiction to review dispositions such as the one made here. See
Stallworth v Moore, 827 So 2d 974 (Fla 2002) (Supreme Court lacks jurisdiction to
review petition denied without opinion); see also R J Reynolds Tobacco Company v
Kenyon, 882 So 2d 986 (Fla 2004)(all writs); and Grate v State, 750 So 2d 625 (Fla
1999)(mandamus).

Argument

The Circuit Court dismissed the appeal from County Court without reaching the
merits for failure of the petitioner to file transcripts of the proceedings in county
court and to file a brief thereafter. This was erroneous. Although transcripts are
generally essential, as here, to success in the review process there is no occasion for
the appellate court to order preparation or submission. As pointed out in Fay v
Craig, 99 So 3d 981 (Fla 5 DCA 2012) an appeal may proceed on the merits with a
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partial transcript or with no transcript at all. As pointed out in Rule 9.200(a)(4),
Fla R App Pro., and (b)(4), where the parties can agree, a stipulated statement or
statement of the evidence and proceedings may be used in lieu of a more complete
record. Also, where the error appears on the face of the judgment, or is otherwise
made to appear from other portions of the physical record, an appellant may elect to
proceed without a more complete record. See Henderson v Henderson, 905 So 2d
901 (Fla 2d DCA 2005); Maslow v Edwards, above, see also Moyer v Moyer, 114 So
2d 638 (Fla 3d DCA 1959). In short, the absence of a transcript did not prevent the
Circuit Court from proceeding with disposition of the appeal on the merits. The
Circuit Court had no occasion to require the transcripts, especially after denied her
efforts to obtain them. The transcripts were, no doubt, essential to the Petitioner’s
chances of success given the testimonial nature of the trial evidence. The Circuit
Court could have secured them through appointment of regional counsel who would
have had the ability to secure them. See M.H. v Department of Children & Family
Services, above. The dismissal was inappropriate and particularly egregious given
petitioner’s request to proceed, as an alternative, under either Rule 9.200(a)(4) or
(b)(4) in an attempt to recreate the record by the means described therein.

A misapplication of an appellate rule which results in dismissal of an appeal by a
Circuit Court sitting in its appellate capacity would form a valid basis for the
District Court of Appeal to grant certiorari. See Chmura v Maxson, 46 So 3d 158
(Fla 2d DCA 2010)(dismissal emanating from misapprehension of requirements of
appellate rule would support relief by certiorari) Here, the absence of a transcript
may have impaired appellant’s chances of success but the absence of the transcript
did not impair the court’s jurisdiction to reach and resolve the appeal on the merits.

Furthermore, the Circuit Court did not inquire into the issue of the propriety of
allowing petitioner to attempt reconstruction of the evidence and proceedings by the
method set forth in Rule 9.200(b)(4), which is generally employed when no
transcript of the proceedings was ever captured or retained. It would have been
well within the Court power to order the parties to engage in that process and to
make a good faith attempt at reaching an agreement as to the material evidence
and rulings made at trial. See also (a)(4). The intended meaning of the term
“unavailability” therein described may or may not have rendered this process
inappropriate since the trial proceedings had been captured on CD, but the court
never made any ruling on this issue as a solution to a problem which would
probably impact many litigants in an indigent category. The concept of
“unavailability” is thought to apply only where no transcript is available either
because no court reporter or recording device was present or operative at the trial or
where such had been lost. Denying efforts by petitioner to employ (a)(4) or (b)(4)
went beyond the plain language of the appellate rule. Denying these options with
knowledge that petitioner could not supply a transcript destroyed any meaningful
opportunity for her to prevail on review.

Moreover, the Circuit Court did not examine petitioner’s claim for relief under
57.082 as a potential solution to the transcript issue. Petitioner did qualify for
indigent status under 57.081, Fla Stat at all levels of the proceedings in this case,
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however that provision does not apply to transcripts for appeal purposes. Under
57.082, Fla and 27.511, Fla Stat some relief might have been available
57.082, Fla Stat provides at
“(1) Application to the clerk. A person seeking appointment of an attorney
in a civil case eligible for court-appointed counsel, or seeking relief from
payment of filing fees and prepayment of costs under s. 57.081, based on
an inability to pay must apply to the clerk of the court for a determination
of civil indigent status...”
The statute goes on the describe the process of determination of eligibility
The statute then provides
(3) Appointment of counsel on an interim basis. If the clerk of the
court has not made a determination of indigent status at the time
a person requests appointment of an attorney in a civil case eligible
for court appointed counsel, the court shall make a preliminary
determination of indigent status, pending further review by the clerk,
and may, by court order, appoint counsel on an interim basis.”
Section (5) of 57.082 provides for the appointment of counsel and provides
that the first option for appointment arises under s 27.511, to-wit: the office of
criminal conflict and civil regional counsel. That section concludes by providing,
apparently for those persons deemed eligible, “...a person who is found to be
indigent may not be refused counsel”.
Eligibility for appointment is addressed in Sec 27.511, which provides at
(6)(a) The office of criminal conflict and civil regional counsel has primary
responsibility for representing persons entitled to court appointed counsel
under the Federal and State Constitution or as authorized by general law in
civil proceedings, including, but not limited to, proceedings under s 393.12
and chapters 39, 392, 397, 415, 743, 744 and 984 and proceedings to
terminate parental rights under Chapter 63”
Civil plaintiffs are not covered unless specifically for elsewhere by statute.

Despite the foregoing, neither the clerk nor the circuit court hinted that
petitioner might be eligible for relief under her 57.082 request. Neither did they tell
her that she was not eligible. At the time the Circuit Court dismissed her appeal,
the court knew a) that she was seeking assistance, at least to the extent of her
transcripts: b) that she was already determined indigent; c) that regional counsel
could be appointed on an interim basis; d) that regional counsel could obtain and
pay for transcripts for appellate proceedings in cases where appointed, see M. H. v
Department of Children and Family Services, 18 So 3d 1068 (Fla 2d DCA 2008); e)
that the thrust of .082 was to provide services to qualified indigents, and it was
further known to the Circuit Court that the plain language of (6) of 27.511 did not,
on its face, disqualify this petitioner from potential eligibility.

Sec 27.511(6) provides that proceedings specifically under s 393.12 and chapters
39, 392, 397, 415, 743, 744 and 984 and proceedings to terminate parental rights
under Chapter 63 qualify for appointed counsel. Chapter 393.12, regarding
developmental disabilities, provides, regarding the petition for the appointment of a
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guardian advocate for a person with developmental disabilities, at s. (5) Counsel.-
Within 3 days after a petition has been filed, the court shall appoint an attorney to
represent a person with a developmental disability who is the subject of a petition
to appoint a guardian advocate” Section (12)(a) regarding restoration of rights also
requires such an appointment. Chapter 39, proceedings relating to children
provides at s. 39.807(1)(a) “At each stage of the proceedings under this part, the
court shall advise the parent of the right to have counsel present. The court shall
appoint counsel for indigent parents”. In regard to tuberculosis control and a
petition filed to require examination or treatment of any person reasonably
suspected of having or having been exposed to active tuberculosis, s. 392.55(4)(c)
provides that warrant to apprehend or examine may not be issued unless “ the court
advises the person of the right to have legal counsel present. If the person is
insolvent and unable to employ counsel, the court shall appoint legal counsel for the
person pursuant to the indigence criteria in s. 27.52.” Chapter 397.681, as regards
petitions for involuntary assessment and stabilization and petitions for involuntary
treatment accords a right to counsel for a respondent “at every stage of a
proceeding” relating to a petition and further provides that “A respondent who
desires counsel and is unable to afford private counsel has the right to court
appointed counsel and to the benefits of s 57.081. If the court believes that the
respondent needs the assistance of counsel, the court shall appoint such counsel for
the respondent without regard to the respondents wishes.”

Chapter 415.1051, concerns petitions for an order authorizing the provision of
protective services for vulnerable adults. At s. (c) 2., it provides “The vulnerable
adult has the right to be represented by legal counsel at the hearing. The court shall
appoint legal counsel to represent a vulnerable adult who is without legal
representation.” See also s. (f)2. Chapter 743.015, concerns removal of disabilities
of non-age and petitions therefore. Where a petition is filed by a natural or legal
guardian “the court must appoint an attorney ad litem for the minor child, and the
minor child shall be brought before the court to determine if the interest of the
minor will be fully protected by the removal of disabilities of nonage. The attorney
ad litem shall represent the child in all related proceedings.”

Chapter 744.331, dealing with determination of incapacity, provides that the
notice of a petition must include notice that “an attorney has been appointed to
represent the person” s.(1) and at s.(2)(b) “The court shall appoint an attorney for
each person alleged to be incapacitated in all cases involving a petition for
adjudication of incapacity. The alleged incapacitated person may substitute his or
her own attorney for the attorney appointed by the court.” Chapter 984.17(2),
concerning children and families in need of services, provides in part that “...the
child or the parent shall, prior to and adjudicatory hearing, be advised by the court
of the right to counsel.” Chapter 39.013 regarding shelter petitions, dependency
petitions, petitions or termination of parental rights or petitions for injunctions to
prevent child abuse. At s, 39.013(9)(a) “At each stage of the proceedings under this
chapter, the court shall advise the parents of the right to counsel. The court shall
appoint counsel for indigent parents. The court shall ascertain whether the right to
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counsel is understood. When the right to counsel is waived, the court shall
determine whether the waiver is knowing and intelligent.” S.(b) concerns court
provided notice to new counsel if initial counsel is discontinued. S(c) provides that a
waiver of counsel may not be accepted if it appears that a parent is unable to make
an intelligent choice any of various reasons. Chapter 390.01114(4)(a) covering
petitions for judicial waiver of notice as to the termination of pregnancies provides
in part “The court shall advise the minor that she has the right to court-appointed
counsel and shall provide her with counsel upon her request at no cost to the
minor.”

There is no doubt that the interests protected in the foregoing are worthy of the
same. That conclusion does not help explain the meaning of “but not limited to”
found in conjunction with them. It does not explain what might be included nor
does it describe how some unmentioned category of interest might be asserted ot
determined.

In this case the petitioner has lost, by the proceedings against her in County
Court, the right to the possession of her home. Shelter would seem to be a matter of
substantial personal interest. Her right to review the decision of the County Court
to evict is also a substantial personal interest. Review was denied her by reason of
her inability to provide transcripts of the trial. It is not at all clear how her
interests are protected, if at all. The proceedings reveal that at the time of the
order depriving her of the right to possession of her dwelling Petitioner had an
income of $189/mo, and no other assets.( ) The rent under the lease of her unit
was $50/mo. Following the loss of her right to possession she was rendered, as one
could imagine, either homeless, or on the brink thereof. Common experience could
well predict that it would be unlikely that she could find comparable shelter at the
price.

The foregoing statute permits appointment of counsel in circumstances other
than those enumerated in the section, yet the issue was not addressed by the courts
in this case. Moreover, appointment of counsel under the statute authorizes
regional counsel to secure the preparation of necessary transcripts and to pay the
cost of the same. See M.H. v Department of Children & Family Services, above.

The question remains whether this Petitioner had reason to argue or expect
that her particular interests warranted consideration consistent with the interests
served by the statutes specifically enumerated in the Sec 27.511(6). The categories
specified in Sec 27.511, Fla Stat. often provide opportunity for notice, to the person
affected followed by “inquiry” and “advisory” before the court before appointment is
made. A prospective and otherwise worthy applicant not identified in (6) might
never discover that the “but not limited to” phrase was available to him because
there is no hint of definition as to who may be included within its scope. No notice
or advisory is given and no appointment could follow. Petitioner was not advised of
any right to petition the court to be considered as entitled to appointed counsel or
any benefit which might follow therefrom. Though the circuit court and district
court knew of her claims, neither weighed in the subject.
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Petitioner's status as an indigent tenant subject to eviction, and perhaps on the
very edge of homelessness had, it is argued, an interest as significant as others of
those specifically served by Sec 27.511(6). The legislature by the language it chose,
clearly did not exclude “indigent tenants” or “homeless” as a class of persons
ineligible or as otherwise possessed of an invariably inferior right to counsel or
appeals transcripts. That being so, some procedure must be available to address
the unlisted, but possibly worthy, potential applicants. From petitioner’s
perspective, it would seem that there exists no procedure and such fails to give
effect to the language of the statute by permitting cavalier or arbitrary application.
bt some may be able to make persuasive arguments for consideration. Petitioner
Petitioner was not given notice or advice, nor was she given any hearing of her
claims, at all, or so it would appear from the silence of the 2 appellate courts
involved here. This treatment can’t be squared with the “but not limited to”
allowance made in 27.511(6).

Reasons for Allowance of the Writ

Petitioner enjoyed a property interest in her continued tenancy and she enjoyed
a procedural right to an appeal in defense of that interest. Impairment of the right
to review the eviction confirmed the loss of the property interest. Petitioner was
denied the means to protect those interests. Ifthe predictable status of
homelessness necessarily ensued, then further substantial interests are likewise at
risk, ie. loss of her right to privacy, and increased risk to health and to bodily safety,
all consequences with an ongoing and indeterminate duration.

Sec 57.082 permits the appointment of appellate counsel, which in turn, permits
the payment of transcripts See M.H. v DCF, above. The text of Sec 27.511 does not
specifically exclude this petitioner from eligibility. It cannot reasonably be said that,
an individual, within the reach of s(6), who is imposed upon by government, is,
under every conceivable circumstance, possessed of a more protectable interest than
the interest of an indigent tenant who has been evicted from her dwelling, and
likely on the verge of being rendered homeless, for some indefinite and uncertain
future. Not all of the categories specifically receiving the benefit of .511 have been
characterized as “fundamental interests”. Nor has the category of homelessness
been so characterized, it appears. That being said, the relevant statutes do not
seem to provide any rational basis for distinguishing those specified categories from
that of the petitioner.

Issuance of the writ could:

1. Remedy the denial of due process visited upon this indigent petitioner by the
remedy of the allowance of transcripts and/or appellate counsel and by the
reinstatement of her appeal.

2. Find that Sec 27.511(6), Fla Stat. to be constitutionally deficient in its
exclusion of persons in the category of this indigent petitioner and further find it
deficient in the application of its vague to unknowable “but not limited to” category
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3. Extend due process /equal protection rights in the appellate process and
extend those rights to litigants in classes or categories beyond those identified in
Sec 27.511, Fla Stat.

4. Extend the reach of MLB v SLd to civil appellate proceedings involving
interests comparable to those confronting the indigent petitioner in this case.

The petition for writ of certiorari should be granted.
